Case 2:19-cv-08481-PSG-PLA   Document 1-1   Filed 09/30/19   Page 1 of 3 Page ID
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                        Exhibit 1




                                                                         Ex. 1
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 Word Mark RINGBA
 Goods and IC 042. US 100 101. G & S: Cloud computing featuring software for use in sales and marketing and call centers,
 Services     namely, for use in providing management, monitoring, reporting, marketing attribution, and analytics of
              telecommunication, Voice Over IP, SMS Messaging, call routing, pay per call tracking, affiliate programs, affiliate
              tracking, media buying, click arbitrage as well as compliance monitoring of publishers, advertisers and affiliates;
              Software as a service (SAAS) services, namely, hosting software for use by others for use in the field of sales,
              marketing and advertising, namely, for use in providing management, monitoring, reporting, marketing attribution,
              and analytics of telecommunication, Voice Over IP, SMS Messaging, call routing, pay per call tracking, affiliate
              programs, affiliate tracking, media buying, click arbitrage as well as compliance monitoring of publishers,
              advertisers and affiliates. FIRST USE: 20150610. FIRST USE IN COMMERCE: 20150610
 Standard
 Characters
 Claimed
 Mark
 Drawing      (4) STANDARD CHARACTER MARK
 Code
 Serial
              87601416
 Number
 Filing Date September 8, 2017
 Current
              1A
 Basis
 Original
              1A
 Filing Basis
 Published
 for          February 6, 2018
 Opposition
 Registration
              5452036
 Number
 Registration
              April 24, 2018
 Date
 Owner        (REGISTRANT) Acquisition Management, Inc CORPORATION WYOMING Ste 100 412 N Main Street Buffalo
              WYOMING 82834
tmsearch.uspto.gov/bin/gate.exe?f=doc&state=4807:vaix7g.2.1
                                                                                                                  Ex. 1             1/2
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